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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PETER SAUERS,                                                      CIVIL ACTION
                      Plaintiff
              v.

OAK PROPERTY MANAGEMENT LP., et al.,                               No. 19-01429
              Defendants


                                           ORDER

       AND NOW, on tmJ~fFebruary, 2020, upon consideration of the Plaintiffs motion

to amend (Doc. No. 31), Plaintiffs supplemental filings (Doc. Nos. 30, 33), and the Defendants'

opposition, (Doc. No. 32), it is ORDERED that the Plaintiffs motion to amend is DENIED. The

Clerk of Court is DIRECTED to mark this case closed for all purposes, including statistics.
